UNITED STATES DISTRICT COURT
Case 2:02-cr-20215-BBD Document 7£br Filed 06/10/05 Page 1 of 6 Page|D 67
WESTERN DISTRICT OF TENNESSEE

Fll.ED B`r' D.C.

Docket No. 2:02CR20215-01
05 JU%»! ll.'] PH S= Ulz
Petition on Probation and Supervised Release
FIOESEF~Z`Y I"?. i,`)l TF!GL\_Q
. Cl.-i§.a"i:'»;, E.J'.E. lji{;`).l'. Ci.
COMES NOW Lorin J. Smith, PROBATION OFFICER OF THE COURT pr&e§tin§?-an*dffl@iahrepon upon
the conduct and attitude of Eric Dormayer , who Was placed on supervision by the Honorable Bernice B. Donald,
United States District Judge, sitting in the Court at Memphis, Tennessee on the 2_2_"_°' day of Janua;y 2003, who
fixed the period of supervision at *two 121 years, and imposed the general terms and conditions theretofore adopted
by the Court and also imposed special conditions and tenns as follows:

U.S.A. vs. Eric Dormaver

1. The defendant shall participate in substance abuse treatment and testing as directed by the probation officer.
2.

The defendant shall seek and maintain employment

*Supervised Release began on ]uly 16, 2004.

RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:

(If short insert here; if lengthy write on separate sheet and attach)

SEE ATTACHED

PRAYING THAT THE COURT WILL ORDER that a WARRANT be issued for Eric Dormayer to appear
before the United States District Court to answer to charges of Violation of Supervised Release.

BOND:
ORDER ()F C()URT
JA l declare under penalty of perjury that the foregoing
Considered and ordered this /V day is true and correct.
of , 209 fz, and ordered filed

and de a part of the records in the above Executed

sas . On l¢m¢,: ”F, ;ZQQ;"

B/rnice B. Donald, \ ///L@E;?/S,Hiith ""
United States District Judge - U.S. Probation Officer

 

<,'- § ‘E?E‘-:§
' _.-J .

g l]-’; OP_.E;~ Place: Memt)hls, Tennessee
T area

Q op ;;:. _¢,1:.`.1

_ a C»" :::'§;-'

`§~' '-I“l _L;`.

m z ‘EE\_“O

114 "°") mine

u- C) Q; b

Thls document entered on the docket sheet ‘n cormpliance
Wizh F~`rule 56 and/or SZ(b) FHCrP on lQ 456 2

 

RE: §;ic§]§§§§;”d§-:E@]QZ&§]-§_§p Documem 74 Filed 06/10/05 Pagezofs Pagelo ss

Probation Form 12
Page 2

RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:

THE DEFENDANT HAS VIOLATED THE FOLLOWING CONDITIONS OF SUPERVISED RELEASE:

The defendant not commit another Federal, State or Local crime.

On April 12, 2005, Mr. Eric Doimayer was arrested in Corinth, MS for Possession of Over 250 Units of
Pseudoephedrine.

After receiving information regarding the possible purchase of precursors to the manufacture of Methamphetamine
the Corinth City Police Department conducted a traffic stop on a vehicle driven by Mr. Dormayer. Corinth Police
were given permission to search the vehicle Upon search of the vehicle it was discovered that Mr. Dormayer was
in possession of 397 pseudoephedrine pills.

In a written statement given to Detective Derrill Hopkins of the Corinth Police Department, Mr. Dormayer admitted
to the possession of the pseudoephedrine pills and stated the following regarding his possession of the
pseudoephedrine, “I was going to give the pills to someone I know and they were going to give me meth.”

Mr. Dormayer has been released from the Corinth City Jail on a $1,000.00 bond. His next court hearing is July 19,
2005 in Corinth City1 Mississippi.

On May 19, 2005 Eric Dorrnayer was arrested in Marshall County, MS for Possessing a Controlled Substance, to
wit: Methamphetamine and Possession of Anhydrous Ammonia, Knowing Under Circumstances, Where One
Reasonably Should Know That The Anhydrous Ammonia Will Be Used to Unlawfully Manufacture a Controlled
Substance.

Marshall County Mississippi Dispatchers notified Mississippi Bureau of Narcotics Agent Gary Byrd that a
suspicious vehicle and several subjects were present at 843 Lee Creek Road where a Methlab had been previously
discovered. Upon arrival at the location Agent Byrd observed Eric Dormayer sitting on the tailgate of a truck.
Officers located 14.0 grams of a powdery substance on the tailgate of the truck which tested positive as
methamphetamine. In addition, investigators found a tank of anhydrous ammonia which was located in the vehicle
of Larry Truelove, who was also at the 843 I_ee Creek Road location.

Mr. Dormayer has been released from Marshall County Jail on a $100,000.000 bond. His next hearing is June 13,
2005 in Marshall County, Mississippi.

The defendant shall refrain from the unlawful use of a controlled substance.

Eiic Dormayer tested positive for the use of methamphetamine on February 10, 2005, February 23, 2005, and March
31, 2005.

E;'°§D°ro §‘§§ogco]p£dizslggp Documem 74 Filed 06/10/05 Page 3 of 6 Pagelo 69

Probation Form 12
Page 3

The defendant shall not leave the judicial district without the permission of the court or probation officer.

On April 12, 2005 Mr. Eric Dormayer was arrested by the Corinth City Police Department. Mr. Dormayer did not
have the permission of the probation officer to be outside the Westem District of Tennessee.

On May 19, 2005 Mr. Eric Dormayer was arrested in Marshall County, Mississippi by the Marshall County
Sheri ffs Department. Mr. Dormayer did not have the permission of the probation officer to be outside the Westem
District of Tennessee

The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use, distribute,
or administer any controlled substance or any paraphernalia related to any controlled substance, except as
prescribed by a physician.

On May 19, 2005 Mr. Eric Dormayer was found to be in possession of 14.0 grams of methamphetamine by law
enforcement officers in Marshall County, Mississippi.

The defendant Shall not associate With persons engaged in criminal activity and shall not associate with
anyone convicted of a felony, unless given permission to do so by the probation officer.

At the time of his arrest, on May 19, 2005, Mr. Dormayer was in the company of Mr. Larry Joe Truelove a convicted
felon. Mr. Dormayer was not given permission by the probation officer to associate with Mr. Truelove.

The defendant shall submit to drug testing and treatment as directed by the probation officer.
As a result of testing positive for the use of methamphetamine, Mr. Dormayer was referred to the Mernphis Alcohol
and Drug Counsel (MADC) for intensive outpatient treatment on March 23, 2005. On April 13, 2005, Mr.

Dormayer was discharged from MADC for noncompliance

Eric Dormayer failed to submit to random drug screening five (5) times between January 22, 2005 and April 13,
2005.

ease 2:02-cr-20215-BBD WHV{@W“FJ§§(§QHMQ§ Page 4 01c 6 PHQ€lD 70

1. Defendant: Eric Dormayer. 825 East Parkwav South. Memnhis. TN 38104
2. Docket Number: 2:02CR20215-01

3. DistricUOffice: Western District of Tennessee. Memphis

4. OriginalSentence Date January 22 2003

 

month day year
(Ifdt`fj”erent than above ).'

5. Original District/Office:

6. Original Docket Number :

7. List each violation and determine the applicable grade {M_ §7B1.1}:
Violationt S!

New Criminal Conduct: Possession of Pseudoephedrine

§Lde

 

New Criminal Conduct: Possession of Methamphetamine and Anhydrous Ammonia

 

Use of Drugs

 

Leaving the District Without Permission

 

Association With a Convicted Felon

 

F ailure to Comply With Drug Treatment

OOOW>>

 

8. Most Serious Grade of Violation (_mag §7B1.1(b)
9. Criminal History Category (B §7B1.4(a))74

A
II

 

10. Range of imprisonment (s_e_e §7Bl.4(a))

 

 

15 - 21 months

 

Statutory Maximum is 24 months.
11. Sentencing Options for Grade B and C violations Only (Check the appropriate box):

{ } (a) If the minimum term of imprisonment determined under § 7B 1.4 (Term of Imprisonment) is at least one month

but not more than six months, § 7B1.3(c)(1) provides sentencing options to imprisonment

{ } (b) lf the minimum term of imprisonment determined under §7Bl.4 (Term of Imprisonment) is more than six months

but not more than ten months, § 7B1.3(c)(2) provides sentencing options to imprisonment

{X } (c) If the minimum term of imprisonment determined under § 7Bl.4 (Term of Imprisonment) is more than ten months,

no sentencing options to imprisonment are available

Mail documents to: United States sentencing Commission, 1331 Pennsylvania Avenue, N.W.

Suite 1400, Washington, D.C., 20004, Attention: Monitoring Unit

 

 

Case 2:02-cr-20215-BBD Document 74 Filed 06/10/05 Page 5 of 6 Page|D 71

Defendant: Eric Dormayer

12.

13.

14.

15.

Unsatisf'led Conditions of Original Sentence

List any restitution, fine community confinement, home detention, or intermittent confinement
Previously imposed in connection with the sentence for which revocation is ordered that remains

unpaid or unserved at the time of revocation { see § 7B1.3(d)}:

Restitution N/A Community Confinement N/A

Fine NIA Home Detention N/A

Other/ Speci al Assessment N/A Intermittent Confinement NfA

Supervised Release

If probation is to be revoked, determine the length, if any, of the temi of supervised release

according to the provisions of§ §5D1.1-1.3{B § §7B1.3(g)(1)}.
Term:

If supervised release is revoked and the term of imprisonment imposed is less than the maxim term
of imprisonment upon revocation, the defendant may, to the extent permitted by law, be ordered to
recommence supervised release upon release from imprisonment {Lel 8U.S.C.§3583(e) and

§7131-3(§) (2)}-

Period of supervised release to be served following release from imprisonment [_]

Departure

List aggravating and mitigating factors that may warrant a sentence outside the applicable range of

impri sonment:

Official Detention Adjustment {B §7Bl.3(e)}: |Ad]‘ust Months] months |Adiust Days| days

Mail documents to: United States Sentencing Commission, 1331 Pennsylvania Avenue, N.W.
Suite 1400, Washington, D.C., 20004, Attention: Monitoring Unit

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 74 in
case 2:02-CR-20215 was distributed by fax, mail, or direct printing on
June 13, 2005 to the parties listed.

 

 

Thomas A. Colthurst

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

